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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

John Doe,                             )
                                      )
           Plaintiff                  )
      v.                              )     Case No. 18-cv-7429
                                      )
The University of Chicago and         )     Judge Virginia M. Kendall
Jane Roe,                             )
                                      )
           Defendants.                )


                             NOTICE OF MOTION

      PLEASE TAKE NOTICE that on Tuesday, July 23, 2019, at 9:00 am or as
soon thereafter as counsel may be heard we shall appear before the Honorable
Virginia M. Kendall or any judge presiding, in Courtroom 2319 in the United States
courthouse, 219 South Dearborn Street, Chicago, Illinois and will then and there
present Plaintiff’s Motion to Reinstate, a copy of which is hereby served upon you.

Dated: July 12, 2019                        Respectfully submitted,

                                            /s/ Sean B. Crotty
                                            One of Plaintiff’s Attorneys


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    Case: 1:18-cv-07429 Document #: 65 Filed: 07/12/19 Page 2 of 2 PageID #:606




                           CERTIFICATE OF FILING

      I, Sean B. Crotty, an attorney, hereby certify that on July 12, 2019, I caused
the foregoing Notice of Motion to be electronically filed with the Clerk of the
United States District Court for the Northern District of Illinois, Eastern Division,
using the Court’s CM/ECF system.


                                                    /s/ Sean B. Crotty




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